Case 5:24-cr-00138-TPB-PRL Document10_ Filed 02/18/25 Page 1 of 38 PagelD Pb
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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT
OF MIDDLE DISTRICT OF FLORIDA (OCALA)

UNITED STATES

v. CASE # 5:24-cr-00138-TRP-PRL-1
Related case #3:10-cr-00222 District of CT

ROBERT HENRY RIVERNIDER
/

NOTICE
DEMAND FOR DISMISSAL
NOTICE OF FEE SHEET

Petitioner, Robert H. Rivernider, Attorney in fact and trustee for
ROBERT HENRY RIVERNIDER JR. HEREBY APPOINTS THIS
COURT, THROUGH JUDGE THOMAS P. BARBER to administer
the estate of ROBERT HENRY RIVERNIDER JR and instructs
Judge BARBER to settle the estate and dismiss the case.

CITATIONS:

Fraud on the Court

e Hazel-Atlas Glass Co. v. Hartford-Empire Co., 322 U.S. 238 (1944) — Established that
fraud on the court vitiates everything it touches.
e United States v. Throckmorton, 98 U.S. 61 (1878) — Recognized that fraud in obtaining a

judgment renders it void.
e Chambers v. NASCO, Inc., 501 U.S. 32 (1991) — Held that courts have inherent power

to vacate judgments obtained by fraud.
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Unrebutted Affidavits Must Be Taken as Truth

United States v. Tweel, 550 F.2d 297 (5th Cir. 1977) — Stated that silence can be
equated with fraud when there is a legal duty to disclose.

Carmine v. Bowen, 64 A. 932 (Md. 1906) — Held that unrebutted affidavits must stand as
truth in absence of contradiction.

Lack of Jurisdiction & Nullity Ab Initio

Ex parte Young, 209 U.S. 123 (1908) — Stated that courts do not have jurisdiction over
actions taken beyond lawful authority.

Marbury v. Madison, 5 U.S. 137 (1803) — Established that laws and actions contrary to
the Constitution are void.

Norton v. Shelby County, 118 U.S. 425 (1886) — “An unconstitutional act is not law; it
confers no rights; it imposes no duties; it affords no protection; it creates no office.”

Double Jeopardy (Fifth Amendment Violation)

Blockburger v. United States, 284 U.S. 299 (1932) — The test for double jeopardy,
preventing multiple punishments for the same offense.

Benton v. Maryland, 395 U.S. 784 (1969) — Applied the double jeopardy clause to the
states.

United States v. Halper, 490 U.S. 435 (1989) — Held that imposing additional penalties
after an initial punishment constitutes double jeopardy.

Due Process Violations & Ex Parte Communications

Mathews v. Eldridge, 424 U.S. 319 (1976) — Established the requirement for due
process, including notice and an opportunity to be heard.

Gideon v. Wainwright, 372 U.S. 335 (1963) — Guaranteed the right to legal counsel and
fair proceedings.

Fuentes v. Shevin, 407 U.S. 67 (1972) — Held that ex parte procedures violate due
process rights.

Authority of Courts & Statutory Interpretation

Wayman v. Southard, 23 U.S. (10 Wheat.) 1 (1825) — Explained that courts cannot
create laws or exceed constitutional authority.

@ Erie Railroad Co. v. Tompkins, 304 U.S. 64 (1938) — Clarified that federal courts cannot

impose substantive law outside of constitutional authority .
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Come now, Robert H. Rivernider, Jr., a living man under GOD, Beneficiary and
trustee of the ROBERT HENRY RIVERNIDER ESTATE, here-in after “RIVERNIDER”
giving notice of massive fraud and crimes committed RIVERNIDER, demands this
matter be settled promptly.

1. MASSIVE FRAUD IN CONNECTICUT

a. On numerous occasions RIVERNIDER presented evidence to the district
court exposing the fraud that took place in its court, only to be ignored.
Fraud on the court is a crime. Ignoring a crime is also a crime. As recently
as September 2023, attached ECF 838 in case 3:10-cr-00222-RNC,
RIVERNIDER, documented fraud on the court in a sworn affidavit that was
unrebutted by the government. An unrebutted affidavit MUST be taken as
truth. The Supreme Court has been clear, fraud vitiates everything it
touches. | have documented the fraud, BY THE GOVERNMENT
ACTORS, going back to pre-indictment with perjured testimony from, the
then government star witness, Robert Hall, a former business partner. The
government's response was to remove him from the witness list as to not
have to turn over the evidence of the perjury and it was likely suborned,
another crime.

b. In October 2024, after realizing the District Court had no interest in
following the United States Constitution, demands were made for the Oath
of Office, the Commissions, and Bonds, for all the government actors

involved, including the judge, prosecutors, and the probation officer in
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Florida. THEY ALL DEFAULTED as they failed to provide the documents.
The entire case is therefore a NULLITY AB INITIO.

c. In direct response, the court in Connecticut transferred the case on
November 22, 2024 to this court in an attempt to cover up the criminal
activity. They did not post it on the docket in Connecticut until December
5, 2024, never informed RIVERNIDER of the transfer, and used a transfer
form that was allegedly electronically signed in March of 2024.

d. The Connecticut court failed to release information demanded pursuant to
a Freedom of Information Act request related to a CUSIP number and
bonds taken out in RIVERNIDER’S name attached to the case number
that is included in a fund worth over $500,000,000. This appears to be a
serious conflict of interest.

An AOQ91 criminal complaint was sent to the U.S. Attorney's office in Tampa in
November 2024. Additionally, a criminal complaint has been filed with the Connecticut
State Attorney’s office regarding the collection of usurious loans, a crime in Connecticut
as detailed in ECF 838, the subject of the criminal convictions, and an IRS form 3949a
criminal complaint has been filed to investigate the undisclosed financial conflict of that
court.

As a new administration has now taken control of the corrupt Department of Justice,
one that promises to prosecute anyone committing a crime, new and additional criminal
complaints will be filed and sent directly to the new administration along with this
NOTICE. Statute of Limitations does not start until release from Supervised Release.

2. MISSING DOCKET 2-7
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This court received the case on November 22, 2024. According to the DOCKET it
clearly shows the case was TERMINATED on that day. However, RIVERNIDER recently
learned that may not be the case. After accidentally learning the case was transferred
RIVERNIDER emailed court appointed counsel Robert Frost and sent a copy of the
docket showing the case terminated:

CLOSED,PROB/SR TRAN
US. District Court

Middle District of Florida (Ocala)
CRIMINAL DOCKET FOR CASE #: §:24-cr-00138-TPB-PRL Ail Defendants

Case title: USA v. Rivernider Date Filed: 11/22/2024

Other court case number: 3:10-cr-222-RNC District of Connecticut Date Terminated: 11/22/2024

Assigned to: Judge Thomas P. Barber
Referred to: Magistrate Judge Philip R. Lammens

Defendant (2)

Robert Rivernider
TERMINATED: 11/22/2024

Attorney Frost responded:
December 13, 2024

“Congratulations, Bob. Will you be going to the inauguration for your man on 1/20?

Robert M. Frost, Jr.
FROST | BUSSERT LLC”

According to the United States State Department a warrant has been issued for
RIVERNIDER with the U.S. Marshalls Service for an alleged probation violation on
January 14, 2025. This post dates the termination of probation and violates Due

Process even if the court claims supervised release was not terminated.
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As beneficiary to the RIVERNIDER Estate, no notification has been given. It now
appears the missing docket number 2-7 could be the result of ILLEGAL Ex Parte
communication with either the agents acting as the government or a third party acting
on behalf of the government and this court.

If this court issued a warrant for the arrest of RIVERNIDER based on ex parte
communications without ever giving RIVERNIDER an opportunity to address whatever
alleged violation a third party claimed RIVERNIDER committed it MUST be withdrawn
immediately as it violates the DUE PROCESS Clause of the United States Constitution.
Anyone involved in executing an illegal warrant will be subject to the attached fee sheet
for kidnapping, et al. This notice is being sent to the new US Attorney General, the head
of the US Civil Rights Division at the DOJ, the US Marshals Service and all local
Sheriffs, whose responsibility it is to enforce the United States Constitution.

3. ERRONEOUS DECISION REGARDING ECF. 8

This court has apparently presumed that it has the authority to deny an individual
constitutionally secured right, | do hereby rebut the presumption with facts and
conclusions of the law!

To deny an individual rights secured by the Constitution, is to subject them to servitude
which is strictly prohibited! The Supreme Court has continuously emphasized that no
court, no judicial so-called official operating in, if this court is unlawfully operating, in its
core capacity, may make any determination concerning any constitutionally secured
right in such a capacity!

The Supreme Court has consistently and continuously emphasized that no so-called

public servant exercises any authority not delegated to it by the Constitution. There is
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no delegation of authority and the Constitution for judicial official including this one
presiding over this particular matter, to deny a single right to a single party without due
process of law.

In Docket 8, RIVERNIDER provided proof that the sentencing commission has
stipulated that probation and/or parole are separate sentences in and of themselves.
So, how is it that this court can say that they can sentence a person twice for the same
offense and it does not constitute a violation of the Constitution? RIVERNIDER has a

right to an evidentiary hearing to challenge the jurisdiction of this court!

RIVERNIDER hereby challenges to THE ADMINISTRATIVE AND STATUTORY

JURISDICTION OF THE COURT.

This court has apparently presumed that RIVERNIDER can’t challenge jurisdiction at
any time, even on appeal, after appeal, 10 years later, 100 years later, the law is clear
that a court acting without jurisdiction, and sentencing someone to the same offense but
to a different penalty for that same offense, is called double jeopardy, this is a principle
of law and has nothing to do with statute!

The probationary sentence was based on a statute, the original sentence was based on
a statute, it has long been held that statutes are not law.

The code the courts are relying upon are not written by Congress, nor are they
sanctioned by the Constitution. The law governing structure does not support such
conduct. The law says that there must be a legislative process, a process, it appears

the probationary statute the court is relying on did not follow that process!
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Congress creates a statute, and in the statute Congress provides penalties for what
are presumed to be crimes. In these penalties they list jail time and probation or parole,
but it has already been adjudicated that parole is a sentence and incarceration as a
sentence as they both deprive individual liberty.

The principles of the Fifth Amendment says that one who may be deprived of life
liberty or property will not be subjected to being deprived of the aforementioned twice
for the same offense. One is without due process of law and the other one is absolute
that it can never happen. RIVERNIDER hereby brings forth this challenge to the
unfounded presumptive court!

ARGUMENT, NO AUTHORITY IN LAW

This court has apparently presumed that it may operate under presumption,
presumption of law is not a law, and is not supported by the Constitution. The
Constitution does not say a person is presumed innocent, the court subset that! The
Constitution simply says no one may be held for a crime without due process of law.

This court has practiced a so-called waiver of a secured right by holding what's known
as ex parte pre-warrant hearings. There is no sanction in law for the courts to come up
with their own process, because that in and of itself is a denial of due process of the
law. The law in the United States is the Bill of Rights of the Constitution’s, no one has a
right to ignore the Constitution!

The court sits in a so-called core jurisdiction, RIVERNIDER has a constitutionally
secured right for which court venues have no jurisdiction under law. RIVERNIDER

demands this matter be heard by a non-core jurisdiction and official as is his right!
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Court's don’t have the right to violate anyone’s Constitutional Rights, nor subject them
to double jeopardy. When did a practice, the practice of sentencing someone to parole
or probation and incarceration, become law? Procedures and practices are not law!
Unless this court has proof that the Constitution supports double jeopardy, which it did
not provide in its denial, then its so-called DENIAL is without jurisdiction and that the
court is acting in complete disregard to the law which means it is acting in clear
absence of all jurisdiction!

RIVERNIDER requested an evidentiary hearing and has a right for this court to provide
facts and conclusions of the law, this court has provided no law and a case citation is
not law even if it is referred to as “CASE LAW’, there is no such thing in law as case
law. Judges can’t make law, this is a known maxim in fact in the United States, so

please, provide me constitutional support based in the Constitution.

CERTIFICATION/VERIFICATION/VALIDATION

RIVERNIDER hereby demands dismissal of case 3:10-cr-00222, dismissal of all
warrants, and notice that all restitution payments made by the original defendants be
returned.

| do hereby present this petition before this court as an affidavit, in this affidavit format,
as wholly attested, witnessed by and before God, as such on this February 11, 2025

under penalty of law, if held otherwise, so help me God!

Respectfully certified,
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CERTIFICATE OF SERVICE

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|, Robert H Rivernider, hereby certify that a copy of this filing has been sent to the following:

1.

U.S. Attorney's Office

35 S.E. 1st Avenue., Suite 300

Ocala, FL 34471

U.S. Attorney General

Attn: Pamela Jo Bondi

U.S. Department of Justice

950 Pennsylvania Avenue, NVW
Washington, DC 20530-0001

Attn: Leo Terrell

U.S. Department of Justice

Civil Rights Division

950 Pennsylvania Avenue, N.W.

Office of the Assistant Attorney General, Main
Washington, D.C. 20530

Navy JAG Corps

1322 Patterson Ave., Suite 3000
Washington Navy Yard, DC 20374-5066
Sumter County Sheriff Patrick Breeden
7361 Powell Rd Wildwood, FL 34785
Florida Attorney General

400 S Monroe St, #PL01 Tallahassee, FL 32301
U.S. Marshals Service Headquarters
1215S. Clark St. Arlington, Virginia 22202

Robert H Rivernider, Agent for
ROBERT HENRY RIVERNIDER JR.

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UNITED STATES OF AMERICA
DISTRICT OF CONNECTICUT
UNITED STATES
V. Case: 3:10-cv-222
Robert Henry Rivernider
Sui Juris
/ September 11, 2023

MOTION TO DISMISS CASE 3:10-cr-222
DUE TO FRAUD AND VIOLATIONS OF CONSTITUTIONAL RIGHTS

Comes Now, Petitioner Robert Henry Rivernider, Sui Juris, a living person, moves for
dismissal of case 3:10-cr-222 due to massive fraud committed by representatives of the

UNITED STATES CORPORATION, acting as the United States government.

LEGAL STANDARD

FRAUD VITIATES EVERYTHING IT TOUCHES. United States v. Throckmorton, 98
U.S. 61, 25 L.Ed. 93. October Term, 1878. “There is no question of the general doctrine
that fraud vitiates the most solemn contracts, documents, and even judgments.” at 11.

The Fifth Amendment of the United States Constitution states in part “No person
shall be held to answer for a capital, or otherwise infamous crime, unless on a
presentment or indictment of a Grand Jury,.. nor be deprived of life, liberty, or property,
without due process of law.” Here, Mr. Rivernider, a living person, continues to be

deprived of “Liberty and Property” without “due process of law.”

ORAL ARGUMENT DEMANDED . f
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Case 5:24-cr-00138-TPB-PRL Document10 _ Filed 02/18/25 Page 12 of 38 PagelD 262
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The Supreme Court instructs a “court has a historical DUTY and obligation to set
aside a judgment for fraud on the court” Hazel-Atlas Glass CO v. Harford Empire Co.

322 U.S. 238, 64 S. Ct. 997, 88 L.Ed. 1250 (1944).

ARGUMENT

On November 4, 2010, representatives of the UNITED STATES CORPORATION,
herein referred to as they claim to be the “government,” filed a criminal indictment
against three individuals in the District Court located in the State of Connecticut.’ The
“Indictment” charged the defendants with eighteen criminal charges. The charges
alleged inter alia, that the defendants deceived victims in, what was claimed to be, an
investment program, a Real Estate scheme, and conspiracy.

First, regarding counts 1-9, at trial in 2013 documents were presented, and testimony
confirmed, that the alleged “investment scheme’ was in fact a loan program, in which,
the defendants were to pay usurious interest rates to the lenders and NOT an
“investment scheme” as alleged in the indictment.

This has now been confirmed by the presiding Judge in the case who asked, at a
hearing on August 1, 2023, ECF. 836 Pg 35. 5-8:

Judge Chatigny: “ By the way, Mr. Rivernider, I’m just curious, who set the

interest rate, so to speak, for the individuals in the “No More Bills” payments?

Was it them or was it you?”

' See U.S. District Court District of Connecticut (New Haven) CRIMINAL DOCKET FOR CASE #:
3:10-cr-00222 @1
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Here, the court demonstrates that it is clearly aware that the interest rate the
defendants were to pay on the LOAN PROGRAM was usurious. Regardless of who set
the interest rate, IT WAS IN FACT, USURIOUS, and therefore illegal. Evidence
presented at trial showed an interest rate of 10% per month. As previously stated the
case was filed in Connecticut with alleged “victims” being located in Connecticut. Under
Connecticut law, it is not only a crime to charge usurious rates it is a crime to attempt to
collect?. The defendants were, in fact, the victims. All those currently involved or
previously involved in attempting to collect on the usurious loans are violating
Connecticut law, which includes the court. The entire indictment has now been proven
to be a fraud and therefore invalid and must be dismissed.

Not only did the indictment fraudulently accuse the defendants of an “investment
scheme” the “government” continues to defraud the court by not correcting this
fraudulent assertion instead insisting the court enforce and threaten to incarcerate
Rivernider if Rivernider fails to conform by paying the “restitution” (extortion) ordered,
based on the fraudulent claims made by the “government.” Extorting payments to be
made under the guise of “restitution” requires Rivernider to be a part of the conspiracy

and fraud committed by the “government.” The taking of Mr. Rivernider's PROPERTY

2 CHAPTER 673

Sec. 37-2. No recovery after payment. No borrower of money shall be permitted to set off or recover back,
by any proceeding in court, any sum of money paid by way of interest, discount or damages, for the
detention of money, in excess of the rate of six per cent a year

Sec. 37-4. Loans at greater rate than tweive per cent prohibited. No person and no firm or corporation or
agent thereof, other than a pawnbroker as provided in section 21-44, shall, as guarantor or otherwise,
directly or indirectly, loan money to any person and, directly or indirectly, charge, demand, accept or make
any agreement to receive therefor interest at a rate greater than twelve per cent per annum

Sec. 37-8. Actions not to be brought on prohibited loans. No action shatl be brought to recover principal or
interest, or any part thereof, on any loan prohibited by sections 37-4, 37-5 and 37-6, or upon any cause
arising from the negotiation of such loan.
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by threatening to take Mr. Rivemider's LIBERTY when DUE PROCESS was clearly
violated, violates Mr. Rivernider’s rights under the United States Constitution.

Second, violations of DUE PROCESS and Conspiracy to Violate the defendant's
Constitutional Rights.

Not only did the “government” deceive the grand jury® to create the fraudulent
indictment, but the “government” continually, throughout this entire process, has bribed
and coerced witnesses to commit perjury, under oath, before the court. During the trial,
several witnesses were caught lying under oath when subject to cross-examination. For
example, the basis for counts 10-18 in the indictment claims the defendants inflated
property values. To prove this the “government” bribed Tosha Wade to lie while under

oath claiming that the defendants sold the one-bedroom units at the Sterling Residences

348 U.S. Code § 241 - Conspiracy against rights If two or more persons conspire to injure,
oppress, threaten, or intimidate any person in any State, Territory, Commonwealth, Possession, or
District in the free exercise or enjoyment of any right or privilege secured to him by the
Constitution or laws of the United States, or because of his having so exercised the same; or If
two or more persons go in disguise on the highway, or on the premises of another, with intent to
prevent or hinder his free exercise or enjoyment of any right or privilege so secured—They shall
be fined under this title or imprisoned not more than ten years, or both; and if death results from
the acts committed in viclation of this section or if such acts include kidnapping or an attempt to
kidnap, aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt
to kill, they shall be fined under this title or imprisoned for any term of years or for life, or both, or
may be sentenced to death.

“418 U.S. Code § 242 - Deprivation of rights under color of law Whoever, under color of any law,
statute, ordinance, regulation, or custom, willfully subjects any person in any State, Territory,
Commonwealth, Possession, or District to the deprivation of any rights, privileges, or immunities
secured or protected by the Constitution or laws of the United States, or to different punishments,
pains, or penaities, on account of such person being an alien, or by reason of his color, or race,
than are prescribed for the punishment of citizens, shall be fined under this title or imprisoned not
more than one year, or both; and if bodily injury results from the acts committed in violation of
this section or if such acts include the use, attempted use, or threatened use of a dangerous
weapon, explosives, or fire, shall be fined under this title or imprisoned not more than ten years,
or both; and if death results from the acts committed in violation of this section or if such acts
include kidnapping or an attempt to kidnap, aggravated sexual abuse, or an attempt to commit
aggravated sexual abuse, or an attempt to kill, shall be fined under this title, or imprisoned for any
term of years or for life, or both, or may be sentenced to death.

5 The “government's” star witness to obtain the indictment, Robert Hall, was removed from the trial
witness list after Rivernider presented evidence that his grand jury testimony had to be fraudutent, the
“government’ remoived him when they were required to turn over grand jury testimony, knowing Hall
committed perjury.
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by inflating the price to $220,000. Wade was bribed by the “government” not to have to
go to prison if she would lie under oath to help convict the defendants. Despite
numerous motions by Rivernider, ignored or denied by this court as frivolous®, the
“government” has never disputed or denied the allegation, or provided evidence that this
claim was true. Judge Chatigny knowingly condoned bribing witnesses to commit
perjury when sentencing Tosha Wade to one year of supervised release with no prison
time. Many other examples of bribed false testimony have been presented to this court
which ignored it. Despite the obvious fact that this is the standard operating procedure
for the “government” attorneys to secure their 98% conviction rate, get bonuses for
convictions, and here, promotions, it still violates the Constitutional Rights of those
charged and must be reviewed and dismissed when proven as is the case here.

One major example included the perjured testimony of attorney James W.
Bergenn in 2018 at hearings before Judge Chatigny and in written responses’ to
Rivernider’s 2255 motion. Not only was the testimony perjurious, knowingly so by all
parties, including the “government” and the Judge himself, but they are covering it up
and refusing to disclose the evidence in their possession that proves it. A violation of
Misprision of a Felony, 18 U.S.C. § 4. Bribing witnesses to commit perury to get a
conviction violates the due process clause of the United States Constitution, which as
a living person applies to Robert Henry Rivernider and the other defendants who
continue to be harmed by this court and the “government”.

Third, during the hearing on August 1, 2023, Judge Chatigny addressed the issue

with certain mortgage lenders the “government” claimed were victims of the defendants

8 See ECF 835 denying 830
7 ECF 123 Affidavit of Bergenn. Sealed by Judge Chatigny ECF 125

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whom the court awarded restitution. ECF. 836, Pg 14. The court refers to the argument
that Selene Finance was improperly awarded $285,823.50 in restitution despite the fact
that Selene Finance was neither a lender nor a downstream lender. The Second Circuit
clearly stated in United States v. Thompson, 792 F.3d 273, 277 (2nd Cir 2015)
“Restitution is authorized only for losses that were directly caused by the conduct
composing the offense of conviction and only for the victim's actual loss.”

The court ignored the facts and the issue, the “government” defrauding the court by
adding alleged victims to increase the victim count which increased the potential
sentence, The court inexplicably relied on the total restitution awarded and the
percentage of the total restitution award, as though any amount presented by
“government” agents who committed fraud before the court was reliable. In United
States v Tran, 322 F.3d 798 (2nd Cir.2000) the Second Circuit did not refer to a
percentage when they stated “improperly ordered restitution constitutes an illegal!

sentence amounting to plain error.” Here, the court issued an illegal sentence.
CONCLUSION

Based on the foregoing, and because the law demands it, Rivernider moves for
dismissal and demands a hearing in case 3:10-cr-222 due to fraud and violations of

Robert Henry Rivernider's, a living person, Constitutional Rights.

El Haas i

Let nry Rivernider
Sui Juris
Counsel of Record

T ~~Case 5:24-cr-00138-TPB-PRL Document 10

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Affidavit
Notice of Liability Regarding Trespass
Affidavit of Fee Schedule and Remedy
Acknowledgment

in the Nature of Supplemental Rules
for Administrative and Maritime Claims Rules C (6)
for Personal Protection From

Federal / State / County / Ci Municipal / Corporate
lo Individual

Notice to Agent is Notice to Principal.

Notice to Principal is Notice to Agent.
Notice to Individual, Natural Living Soul is Notice to All Human Beings.
Notice to All Human Beings is Notice to individual, Natural Living Soul.

“Ignorance of the law does not excuse misconduct in anyone, least of all in a sworn officer of the
law.”
|

— In re McCowan (1917), 177 C. 93, 170
Public Law § 97-280 acknowledges the Holy Bible as the Word of God.
Silence is Aquiesence, Agreement, and Dishonor

This is a Self-Executing Contract.

NOTICE

Daniel Chapter 4 verse 17 (Ked.¥2)

‘17 This matter is by the decree of the watchers and the demand by the word of
the Holy ones: to the intent that the living may know that the most High
ruleth in the kingdom of men and giveth it to whomsoever He will and setteth
up over it the basest of men.”

Before Me, the undersigned Notary, (Tia “in .Qr4/ , on

this day 9th__ of September, 2024, personally appeared ‘Robert-Henry:
Rivernider, known to me to be credible natural person and of lawful age, who
being duly sworn by me affirms, deposes, and says:

I, Robert-Henry of the family Rivernider, as a natural person / a People on
the State known as Florida, am hereby, as a gesture of peace, giving proper
notice to the STATE OF Florida corporation and to the UNITED STATES
corporation, to all municipal, county, and city corporations, and to all

| Page 1|23

It is not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This document and attachments are presented with honorable and peaceful
intentions and are expressly for your benefit to provide you with due process and a good faith opportunity

to state a verified claim,
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other STATE CORPORATIONS, agents, employees, and all other individuals of the
following:

As 2 peaceful, natural Man desiring to avoid conflict and to live lawfully with all of my freedoms, |am
providing you with this Notice of Liability regarding Trespass, Fee Schedule, and Remedy for personal
Protection from Federal / State / County / City / Municipal / Corporate employees as a courtesy to you
and as a remedy should you decide to trespass upon me or other members of my Family. Failure to
know or disobey any of your thousands of corporate regulations, statutes, or codes does not
constitute a crime absent a victim or damaged property or fraud - no corpus delecti.

“In every prosecution for crime it is necessary to establish the
‘corpus delecti', i.e., the body or elements of the crime.” People
v. Lopez. “The corpus delecti consists of two elements, namely, 1)
the injury of loss or harm; and 2) a criminal agency causing them
to exist.” People v. Frey (1913) 165 Cal. 140 [ 131 P. 127]

Please note that this Affidavit of Fee Schedule and Remedy for Personal
Protection from Federal / State / County / City / Municipal / Corporate
employees is just per Trezevant v. City of Tampa,741 F.2d 336 (11th Cir.
1984), wherein a motorist was illegally held for 23 minutes on a traffic
charge and was awarded $25,000 in damages. This sets the foundation for
$1,086.00 per minute or $1,800,000.00 per day. When an individual is detained
without a signed lawful 4t amendment warrant and without having committed a
crime (Traffic infractions are NOT crimes.), the detention is a false arrest

and unlawful imprisonment.

WHEREAS this is a formal and lawful Affidavit of Fee Schedule and Remedy that
is established for Robert-Henry: Rivernider and his family members to include
the lawful and unlawful matters relating to the Office of the Executor.

Written permission is required for the express use of my LEGAL NAME,
and I do not authorize its use by you or your AGENTS / third parties.

Attorney fees and other remedies not listed in this Fee Schedule are
determined under special circumstances and submitted via certified mail with

a return receipt to all parties involved.

1. For every unlawful solicited / unsolicited interference and
trespass in my private matters and/or commercial affairs, the
following administrative fees apply: $100,000.00 (one hundred

thousand) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per person per violation.

2. For every offense committed against entities, ROBERT HENRY
RIVERNIDER JR©, RIVERNIDER, ROBERT HENRY, ROBERT H RIVERNIDER,
ROBERT RIVERNIDER, ROBERT and BOB are Synonymous and any and ali
derivations thereof on any document which is in any way associated
with me, the living soul, Robert-Henry: Rivernider, shall, by such
document acting as prima facie evidence of violation, become liable

Page 2|23

It is not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause onxiety, alarm, or distress. This d t and attach ts are presented with honorable and peaceful

intentions and are expressly for your benefit to provide you with dua process and o good faith opportunity
to state a verified claim.

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It i6 not my intention
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intentions and are expressly for your benefit to provide you wi
to state a verified clain.

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for penalties of $500,000.00 (five hundred thousand) payable and e
convertible at the legal and lawful ratio prescribed by law of Faderal Reserve Notes %

to silver dollars per
ry offense OF action taken against me: $1,000,000.00

person per violation.

(one million) payable and convertible at the legal and lawful ratio prescribed
by law of Federal Reserve Notes to silver dollars per person per violation of the
RICO Act of 1970 for fraudulently and unlawfully under color of law
misguiding natural persons to believe they are the entities
(corporate fictions) to gain access to their TRUST ACCOUNTS.

ts an agent, clerk or clerk of the

courts refuses to file: $10,000.00 (ten thousand) per page
payable and convertible at the legal and lawful ratio prescribed by law of Federal
Reserve Notes to silver dollars per person per violation pursuant to Federal Rules

of Civil Procedures §(d) (4)) -

Acceptance by the clerk.

[A clerk must not refuse to file a paper solely because it is not in
the form prescribed by these rules or by a local rule or practice
and 18 USC § 2071: ‘(a) Whoever willfully and unlawfully conceals,
renoves, mutilates. Obliterates, ox destroys, or attempts to do so, t
or, with intent to do so takes and carries away any record,

proceedings, map, book, paper, document, or other thing, filed or

deposited with any clerk or officer of any court of the United

States, or in any public office, or with any judicial or public
officer of the United States, shall be fined under this title or
imprisoned not more than three (3) years, or both; {b) Whoever,
having the custody ef any such record, proceedings, map, book,
document, paper, or other thing, willfully and unlawfully conceals,
removes, mutilates, obliterates, falsifies, or destroys the same,

shall be fined under this titles or imprisoned not more than three
(3) years or both; and shall forfeit his/her office and be

disqualified from holding any office under the United States. As

used in this subsection, the term “office” does not include the

office held by any person as a retired officer of the Armed Forces

of the United States. It is settled law that deliv of a pleadin

to_a proper official is sufficient to constitute filing thereof.

United States v. Lombardo, 241 U.S. 73, 36 S. Ct. 508, 60 L. Ed. 897
(1916); Milton v. United States, 105 F.2d 253, 255 (5th Cir. 1939).

In Greeson v. Sherman, 265 F. Supp. 340 (D.C.Va. 1967), it was held
that a pleading delivered to a deputy clerk at his home at night was
thereby filed. [Freeman v. Giacomo Costa Fu Adrea, 282 F. Supp. 525

(E.D.Pa. 1968) 1]

For each unsolicited / solicited phone call: $10,000 (ten

thousand) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per person per violation.

For each unsolicited / solicited letter of harassment :
$10,000.00 (ten thousand) payable and convertible at the legal and lawful
Page 3] 23

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Loba v " 7d

to harasa, to intimidate, to offend, to conspire, to blackmail, to coorce, or toe :
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th due process and a good faith opportunity

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ratio prescribed by law of Federal Reserve Notes to silver dollars per person per

violation.
. For each correspondence that I write to Respondents and/or
Agents / third parties of due to solicited and/or unsolicited

meetings, letters of harassment or breach of the Common Law :

$5,000.00 (five thousand) payable and convertible at the legal and lawful
ratio prescribed by law of Federal Reserve Notes to silver dollars per person per

violation.
For each correspondence I receive from the commissioner’ s

office regarding RESPONDENTS / AGENTS / third parties or

unlawful letters of harassment: $5,000.00 (five thousand)
Payable and convertible at the legal and lawful ratio prescribed by law of Federal

Reserve Notes to silver dollars per person per violation.

For each correspondence I write to the Office of Fair Trading:

$2,000.00 (two thousand) payable and convertible at the legal and lawful
ratio prescribed by law of Federal Raserve Notes to silver dollars per person per

violation.
10.For each correspondence I write to court services and agents:

$5,000.00 (two thousand) payable and convertible at the legal and lawful
ratio prescribed by law of Federal Reserve Notes to silver dollars per person per

violation.
11.For each correspondence I have to write to Trading Standards:

$2,000.00 (two thousand) payable and convertible at the legal and lawful
ratio prescribed by law of Federal Reserve Notes to silver dollars per person per

violation.

12.For the cause of emotional distress, harm or injury :
$1000,000.00 (one hundred thousand) payable and convertible at the legal
and lawful ratio prescribed by law of Federal Reserve Notes to silver dollars per

violation.

13.For any time caused to be spent on issues involving

matters related to any legal matters : $500 (five

hundred) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per violation

14.For each correspondence I have to write to the chief of police
/ sheriff agent after first notice sent: $5,000.00 (five

thousand) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per person per violation.

.

15.For each court special appearance / general appearance

$30,000.00 (thirty thousand) payable and convertible at the legal and
lawful xatio prescribed by law of Federal Reserve Notes to silver dollars per

violation.
16.For each phone call I make to relevant bodies / agents:
$2,000.00 (two thousand) plus $500 per hour or part thereof /

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ire, to blackmail, to coerce, or to
ted with h ble and p ful

It is not sy intention to harass, to intimidate, to offend, to

cause anxiety, alarm, or distress. This d and attach ts are pr 1 f
intentions and are expressly for your benefit to provide you with due process and a good faith opportunity

to state a verified clain.

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$5.00 per minute payable and convertible at the legal and lawful ratio prescribed
by law of Federal Reserve Notes to silver dollars per person per violation.

17.For each individual failure to provide per individual
requested evidence, items, documents, proof of certified
public oaths, or other lawfully required and requested items/
documents for the inspection of the Undersigned, the fee of
$5,000.00 (five thousand) per individual breach of this notice shall apply.
It is your tacit agreement that thesa fees become automatically subscribed to by the
Respondent (namad in due course) if all requested and named items are not sent to the
Sovereign Boneficiary with proof of receipt by recorded delivery and signed for within
(7) days after receipt of this notice payable and convertible at the legal and lawful
ratio prescribed by law of Federal Reserve Notes to silver dollars per violation.

18.For each individual failure to perform a directive given by
the Sovereign Beneficiary: $10,000.00 (ten thousand) payable and
convertible at the legal and lawful ratio prescribed by law of Federal Reserve Notes
to silver dollars per person per violation.

19.FPor every direct order given to the Sovereign Beneficiary by a
magistrate, a judge, or any government official or agent:
$30,000.00 (thirty thousand) payable and convertible at the legal and lawful

ratio prescribed by law of Federal Reserve Notes to silver dollars per person per
violation.

20.For every Unlawful Arrest, Illegal Arrest, or Restraint or
Distraint, or Trespassing / Trespass without a lawful,
correct, complete, and original 4t amendment warrant with a
wet ink signature: $1,000,000.00 (one million) plus additional
damages pursuant to Trezevant v. City of Tampa, 741 F.2d 336 (ilth
Cir. 1984) .. and 1 acra of government, state, county, or city land, per

occurrence, per officer, or agent involved payable and convertible at thea legal and
lawful ratio prescribed by law of Federal Reserve Notes to silver dollars per

violation.

21.For every Excessive Bail, Fraudulent Bond, Fraudulent Warrant,
Cruel / Unusual Punishment, Violation of Rights to a Speedy
[Trial or Freedom of Speech, Conspiracy, Aiding and Abetting,
Racketeering, and/or Abuse of Authority as per Title 18 U.S.C.A.
§ 241 and 242 or definitions contained herein for encroachment:

$1,000,000.00 {one million) and 1 acre of government, state, county, or

city land per occurrence per officer or agent involved payable and convertible at the
legal and lawful ratio prescribed by law of Pederal Reserve Notes to silver dollars

per person per violation.

22.For every Assault (with or without Weapon): $1,000,000.00 (one

million) and 1 acre of government, stata, county, or city land per occurrence
payable and convertible at the legal and lawful ratio prascribed by law of Fedaral
Reserve Notes to silver dollars per person per violation.

23.For all Unfounded Accusations by an Officer of the Court,
Police Officer, or Officers of the Sheriff's Department and

State Troopers: $3,000.00 (three thousand) per occurrence per officer or
agent involved payable and convertible at the legal and lawful ratio prescribed by law
of Federal Resarve Notes to silver dollars.

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It ia not oy intention ta harass, to intimidate, to offend, to pire, to blackmail, to coerce, or to
cause anxiety, alara, or diotresa. This d t and attach ts are pr d with honorable and peaceful
intentions and are expreagly for your banefit to provide you with due process and a good faith opportunity

to state a verified claim.

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24.For all Unlawful Detention or Incarceration: $200,000.00 (two

hundred thousand) per day and 1 acre of government, state, county, or city land
convertible at the legal and lawful ratio prescribed by law of Federal Reserve Notes

to silver dollars.

25.For every Incarceration for Civil or Criminal Contempt of
court without lawful and valid reason: $1,000,000.00 (one
million) per day and 1 acre of government, state, county, or city land per
occurrence payable and convertible at the legal and lawful ratio prescribed by law of
Federal Reserve Notes to silver dollars.

26.For every Threat, Coercion, Deception, or Attempted Deception

by any officer of the court: $50,000.00 (fifty thousand) per
occurrence per officer or agent involved payable and convertible at the legal and
lawful ratio prescribed by law of Federal Reserve notes to silver dollars per person

per violation.

27.For each Refusal of Lawful Bailment as Provided by the
aforementioned Constitution and/or Honorable Bill of Rights:
$100,000.00 (one hundred thousand) per day payable and convertible at the
legal and lawful ratio prescribed by law of Federal Reserva Notes to silver dollars as
per frafficante v. Florida, 92 So. 2d 811 (1957) per occurrence per officer and/or
agent involved and 1 acre of government, state, county, or city land.

28.For every Coercion or Attempted Coercion of the Real Natural
Person to hold the liability of the Corporate Citizen against
the Natural Person and Secured Party’s Will: $200,000.00 (two
hundred thousand) per occurrence per officer or agent involved payable

and convertible at the legal and lawful ratio prescribed by law of Federal Reserve
notes to silver dollars.

29. For each Recording of an Unlawful or Improper Lien, Levy,
Impoundment, or Garnishment against any funds, bank accounts,
savings accounts, retirement funds, investment funds, social
security funds, intellectual property, or any other property
belonging to the Secured Party by any agency as aforementioned
herein: 1 acre of government, state, county, or city land and

$300,000.00 (three hundred thousand) payable and convertible at the legal
and lawful ratio preseribed by law of Federal Reserve Notes to silver dollars and

$100.00 (one hundred) per day penalty until all lien(s), levy(s),
impoundment (s), and/or garnishment(s) are terminated along with all funds reimbursed
and all property returned in the same condition as it was when taken with 16% annual
interest and my declared value of property.

30.For every destruction, deprivation, concealment, defacing,

alteration, or theft of property, including buildings, structures,
equipment, furniture, fixtures, and supplies belonging to the Natural Person and
Secured Party will incur a penalty of total new xeplacement costs of property as
indicated by owner and secured party including but not limited to purchase price and
labor costa for locating, purchasing, packaging, shipping, handling, transportation,
delivery, setup, assembly, installation, tips and fees, permits, replacement of
computer information and data, computer hardware and software, computer supplies,
office equipment and supplies, or any other legitimate fees and costs associated with
total replacement of new items of the same type, like, kind, quality, and quantity as
the lost items. The list and description of affected property will be provided by the
owner and secured party which will be accepted as complete, accurate, and
uncontestable by tha agoncy(s), representative (s) , and/or person(s) thereof that
caused such action. In addition to the aforemantioned cost, there will be a

$6,000.00 (six thousand) fee per day payable and convertible at the legal
Page 6| 23

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cause anxiety, alarm, or distress. Thig di t and attach te are prasanted with honorable and peaceful
intentions and sre expressly for your benefit to provide you with due process and a good faith opportunity

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law of Federal Reserve Notes to ailver dollara until

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and lawful ratio pre y beginning on the first day after the incident as

property is restored in full,
provided by thia contract.

31.For every Denial and/or Abuse of Due Process: $200,000.00

(two hundred thousand) payable and convertible at the legal and lawful ratio
prescribed by law of Federal Reserve notes to silver dollars per violation per person

per officer or agent involved.

32.For every Obstruction of Justice: $200,000.00 (two hundred

thousand) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per eceurrence per officer and/or agent

involved.

33.For every Reckless Endangerment, Failure to Identify, Refusal
to Present Credentials, and/or Failure to Charge within 48
(Forty-Eight) Hours after being Detained / Arrested:

$300,000.00 (three hundred thousand) payable and convertible at the legal
and lawful ratio prescribed by law of Federal Reserve Notes to silver dollars per

occurrence per officer and/or agent involved.

34.For every Counterfeit Statute Staple Security Instrument:

$20,000.00 (twenty thousand) payable and convertible at tha legal and lawful
ratio prescribed by law of Federal Reserve Notes to silver dollars per violation per
officer and/or agent involved.

35.For every Trespass on Cestui Que Vie Trust matter (s) and trust
property including any trust property impaired as a result of
any action taken without consent: $100,000.00 (one hundred
thousand) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per trespass per officer and/or agent
involved.

36.For every Trustee, agent, or individual Correspondence not
signed in affidavit form under penalties of perjury or
commercial liability: $5,000.00 (five thousand) payable and
convertible at the legal and lawful ratio prescribed by law of Fedaral Reserve Notes
to silver dollars per communication not in compliance.

37.For every Foreclosure, Repossession, and Court Matter against
Cestui Que Vie Trust: $200,000.00 (two hundred thousand) payable
and convertible at the legal and lawful xatio prescribed by law of Federal Raserve
Notes to silver dollars and 1 acre of government, state, county, or city land per
occurrence per officer and/or agent involved.

38.For every seizure of any Cestui Que Vie Trust property through
force, duress, coercion, conversion, including but not limited
to arrest / assault / kidnapping / human trafficking :
$1,000,000.00 (one million) payable and convertible at the legal and lawful
xatio prescribed by law of Federal Reserve Notes to silver dollars.

39.For Harassment after Notice: $100,000.00 (one hundred
thousand) per occurrence per officer and/or agent involved payable and convertible

at the legal and lawful ratio prescribed by law of Federal Reserve Notes to silver
dollars per occurrence and 1 acre of government, state, county, or city land.

40.For each Violation, Breach of Trust, Breach of Contract,
Breach of Fiduciary Duty, Breach of the Peace, Perjury of
Oath(s) of Office of Trustee, False Swearing and acting
without Authority / Jurisdiction by Trustees / Agents:
$50,000.00 (fifty thousand) payable and convertible at the legal and lawful

Det Fae Schedule Page 7|23

It ia not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or ta
cause anxiety, alarm, or distress. Thio d and a h to are pr ad with honorable and paacaful
intentions and are expressly for your benefit to provide you with due process and a good faith opportunity
to state a verified clain.

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arve Notes to silver dollars per person per

ratio proscribed by law of Federal Res
, or city land per occurrence per

violation and 1 acre of governsent, state, county
officer and/or agant involved.

41.For False Statements from Trustees,
$20,000.00 (twenty thousand) payable and convertible at the legal and
lawful ratio prescribed by law of Federal Reserve Notas to silver dollara par

violation par officer and/or agent involved.

42.For each Impairment of Contract by Trustees, agents, or
individuals: $30,000.00 (thirty thousand) payable and convertible at
the legal and lawful ratio prescribed by law of Federal Reserve Notes to silver

dollars user fee per impairment.

agents, or individuals:

43.For each Violation of any unalienable rights including but not
limited to all rights protected by Trusts, Trust Law, Law,
Common Law, International Law, Constitutions, Law of Nations,
etc. by the actions of any Trustee, agent, or individual:

one Troy ounce of .999 pure gold (or its equivalent in Federal
Reserve Notes) per hour for violating and of my unalienable rights
or any of my family’s unalienable rights under any and all
circumstances by any law enforcement officer, judge, magistrate,
corporate agent, and/or citizen;

a.

b. one Troy ounce of .999 pure gold (or its equivalent in Federal
Reserve Notes) per detention initiated by any law enforcement
officer, judge, magistrate, corporate agent, and/or citizen;

c. my body’s weight in .999 pure gold (or its equivalent in Federal

Reserve Notes) for the taking of my life. This lawful paper is to be
honored by the People of the fifty States and the People of the
United States of America for the protection of the People on the

land known as any of the fifty States which make up the union known

as the Unites States of America. This lawful paper must be honored

in any court within any of the fifty States which make up the union

known as the Unites States of America.

d. One Troy ounce of .999 pure gold (or its equivalent in Federal
Reserve Notes) per hour for any of my time consumed in detention,
imprisonment, or attempts by any law enforcement officer, judge,

magistrate, corporate agent, and/or citizen to establish their
statutory jurisdiction upon Me or ny family without expressed,
written consent.

42.For any harm done to family pets without valid cause and/or
justification: $100,000.00 (one hundred thousand) payable and

convertible at the legal and lawful ratio prescribed by law of Federal Raserve Notes
to silver dollars per violation per person and 1 acre of government per officer and/or

agent involved.

Page 8| 23

It is not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alam, or diotreas. Thie d and attach 8 ara Pp. ted with honorable and peacaful
intentions and are expreacly for your benefit to provide you with due process and a good faith opportunity

to state o verified claim.

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43.For each request or demand under lack of full disclosure
without the autograph of the Beneficiary on any lawful

contract: $15,000.00 (fifteen thousand) payable and convertible at the
legal and lawful ratio prescribed by law of Federal Reserve Notes to silver dollars
per person per violation.

44.For each taking of fingerprints by force, coercion, or duress:

$4,000.00 (four thousand) payable and convertible at the legal and lawful
ratio prescribed by law of Federal Reserve Notes to silver dollars.

45.For each field test demanded during unlawful detainment /

traffic stop: $20,000.00 (twenty thousand) payable and convertible at
tha legal and lawful ratio prescribed by law of Fedaral Reserva Notes to silver
dollars.

46.For each D.N.A. test demanded or taken by force, duress, or
coercion during unlawful detainment: $200,000.00 (two hundred

thousand) payable and convertible at the legal and lawful ratio prescribed by law
of Federal Reserve Notes to silver dollars per violation.

47.For any fraudulent foreclosures, liens, contracts, auctions

placed against my property: $200,000.00 (two hundred thousand)
payable and convertible at the legal and lawful ratio prescribed by law of Fedaral
Reserve Notes to silver dollara per person per violation and 1 acre of government,

state, county, or city land per occurrence per officer and/or agent involved.

48.For all ex-parte hearings or meetings without my knowledge or
consent and without given proper notice of 14 days in advance:

$30,000.00 (thirty thousand) payable and convertible at the legal and
lawful ratio prescribed by law of Federal Reserve Notes to silver dollars per
violation.

49.For failure to fully disclose any contract under acts of
fraud: $50,000.00 (fifty thousand) payable and convertible at the legal
and lawful ratio prescribed by law of Federal Reserva notes to silver doliars per
violation.

50.For every theft of property of conveyance / automobile by
impounding, towing, or forced removal from any private or
public property without written consent from me:

$7,000.00 (seven thousand) per day payabie convertible at the legal and
lawful ratio prescribed by law of Federal Reserve notes to silver dollara per
violation.

Matthew Chapter 5 verses 25-26

“25 Agree with thine adversary quickly, whiles thou art in the way

with him; lest at any time the adversary deliver thee to the judge,

and the judge deliver thee to the officer, and thou be cast into
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It ig not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
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prison. 26 Verily I say unto thee, thou shalt by no means come out
.
thence till thou hast paid the uttermost farthing.

Maxims of Equity

1.
“Aequitas sequitir legem.”
Equity follows the law.
1 Story, Eq. Jur. 64; 3 Wooddes. Lect. 479, 482.
2.

Equity will not suffer a wrong to be without a remedy.

3.

He who comes into equity must come with clean hands.

4.

Equity will not allow a remedy that is contrary to law.

5.

Equity will take jurisdiction to avoid a nultiplicity of suits.

6.

Equity will not allow a statute to be used as a cloak for fraud.

7.
Equity regards the beneficiary as the true owner.

8.
“Vigilantibus non dormientibus aequitas subvenit.”
Equity aids the vigilant, not those who slumber on their rights.

9.
Equity acts in personam or persons.
Page 10| 23
It ip not sy intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, slarm, or distress. This d t and attach ts are presented with h ible and p ful

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|

10.
Equity delights to do justice and not by halves.

Maxims of Law

1.
“A verbis legis non est recedendum.”
From the words of the law there must be no departure.

2.
“Actus Dei nemini facit injuriam.”
The act of God does no injury; that is, no one is
responsible for inevitable accidents.

3.
“Augupia verforum sunt judice indigna.”
A twisting of language is unworthy of a judge.
4.
“Catalla just possessa amitti non possunt.”
Chattels justly possessed cannot be lost.

5.
“Contractus legem ex conventione accipiunt.”
The agreement of the parties makes the law of the contract.

6.
“Culpa lata aequiparatur dolo.”
A concealed fault is equal to a deceit.

7.
“Cum adsunt testimonia rerum quid opus est verbis?”
When the proofs of facts are present, what need is there for words?

8.
“Debet qui juri subjacere ubi delinquit.”
Every one ought to be subject to the law of the place where he offends.

9.
‘“Ejus est non nolle qui potest velle.”
He who may consent tacitly may consent expressly.

10.
“Ex facto jus oritur actio exteriora indicant interiora secreta.”
Law arises out of fact; that is, its application must be to facts.
8 Co. R. 146.

11.
“Actio exteriora indicant interiora secreta.”

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cause anxiety, alarm, or distress. This doc and attach tes ara p ed with h ible and p ful
antantions and are axpresaly for your benefit to provide you with due process and a good faith opportunity
to state & verified clain.

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Article VI, Clause III: “The Senators and
oned and the members of the

and all executive and judicial
officers, shall be bound by oath or affirmation, to support
this Constitution; but no religious test shall ever be
required as a qualification to any office or public trust

under the United States.”
as sworn an oath of office to support

> For any Respondent who h C
and/or defend the Constitution for the United States of

Constitution’ ”. /
Representatives before menti

several state legislatures,

America, .
I hereby accept that oath of office.

Numbers Chapter 30 verses 1-2

“; And Moses spake unto the heads of the tribes concerning the children of

Israel, saying, This is the thing which the Lord hath commanded. 2 If a
mans vow a vow unto the Lord or swear an oath to bind his soul with a
bond; he shall not breake his word, he shall do according to all that

proceedeth out of his mouth.”

Leviticus Chapter 5 verses 3-5
“3 or if he touch the uncleanness of man, whatsoever uncleanness it be

that a man shall be defiled withal, and it be hid from him; when he

knoweth of it, then he shall be guilty. 4 Or if a soul swear, pronouncing
with his lips to do evil, or to do good, whatsoever it be that a man shall

pronounce with an oath, and it be hid from him; when he knoweth of it,
then he shall be guilty in one of these. 5 And it shall be, when he shall
be guilty in one of these things that he shall confess that he hath sinned

in that thing:”

When Congress makes a law which is outside the scope of its enumerated
powers, it is no law at all but is void, and American men and women have
no obligation to comply. Alexander Hamilton wrote this repeatedly in the
Federalist Papers. Here are a few examples:

“_I£ the federal government should overpass the just bounds of
its authority and make a tyrannical use of its powers, the people,
whose creature it is, must appeal to the standard they have formed,
and take such measures to redress the injury done to the
Constitution as the exigency may suggest and prudence justify.”
Federalist No. 33, 5th Paragraph

“_acts of.. (the federal government) which are not pursuant to its
constitutional powers.. will (not) become the supreme law of the land.
These will be merely acts of usurpation, and will deserve to be

treated as such.”
Federalist No. 33, 6% paragraph

“_every act of a delegated authority, contrary to the tenor of
the commission under which it is exercised, is void. No legislative
act .. contrary to the Constitution can be valid. To deny this,
would be to affirm .. that men acting by virtue of powers may do not
only what their powers do not authorize, but what they forbid.”
Federalist No. 78, 10th paragraph
Page 13| 23

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to state a verified clain.

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(emphasis added above)

When it is proven, by tacit agreement or otherwise, that Trespassing upon the
People’s unalienable rights to life, liberty, and the pursuit of happiness
from outside the Republic of the United States of America and/or proven
tacitly or otherwise that a tyrannical takeover of the de jure Republic by
agents with an agenda to steal their birthright and to destroy their country
- the United States of America - and to assault the men, women, and children
of the Republic and their real and other property - wild and domestic
livestock, pollinating insects which affect agriculture / food supply, right
to privacy, well-being, liberty, or right to equitable contracts - and/or to
Prove tacitly or otherwise that any Trespassing or the various legal actions
used to implement it evince to a collateral or direct attack upon the United
States of America Constitution, there may be grounds for a Grand Jury
indictment for treason, to wit:

1788 Constitution for the United States of America —

Article III, Section IIT:

“freason shall consist only in levying War against them, or in adhering to
their Enemies, giving them Aid and Comfort. No Person shall be convicted of
Treason unless on the Testimony of Two Witnesses to the same overt Act or
on Confession in open Court. The Congress shall have Power to declare the
Punishment of Treason, but no Attainder of Treason shall work Corruption of
Blood, or Forfeiture except during the Life of the Person attainted.”

Deuteronomy Chapter 17 verse 6

“sg At the mouth of two witnesses, or three witnesses, shall he
that is worthy of death be put to death: but at the mouth of one
witness he shall not be put to death.”

Deuteronomy Chapter 19 verse 15

“15 One witness shall not rise up against a man for nay iniquity,
or for any sin, in any sin that he sinneth: at the mouth of two
witnesses, or at the mouth of three witnesses, shall the matter
be established.”

Matthew Chapter 18 verse 16
“ig But if he will not hear thee, then take with thee one or two

more, that in the mouth of two or three witnesses every word may
be established.”

2 Corinthians Chapter 13 verse 1
“1 This is the third time I am coming to you. In the mouth of two

or three witnesses shall every word be established.”

Hebrews Chapter 10 verse 28
“9g He that despised Moses Law died without mercy under two or

three witnesses.”

{emphasis added on each item above]
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It 18 not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This d t and attach to are pr ted with honorable and peaceful
antentions and are expressly for your benefit to provide you with due process and a good faith opportunity
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Constitution of the United States of America, Amendment IV:

“The right of the people to be secure in their persons, houses, papers, and
effects, against unreasonable searches and seizures, shall not be
violated, and no Warrants shall issue, but upon probable cause, supported by
Oath or affirmation, and particularly describing the place to be searched,
and the persons or things to be seized.” [emphasis added]

Title 18 U.S. Code § 2382- Misprision of Treason

“Whoever, owing allegiance to the United States and having knowledge of the
commission of any treason against them, conceals and does not, as soon as
may be, disclose and make known the sama to the President or to some judge of
the United States, or to the governor or to some judge or justice of a
particular State, is guilty of misprision of treason and shall be fined
under this title or imprisoned not more than seven (7) years, or
both.” [emphasis added]

WHEREAS a person with full knowledge of a potential harm, whether caused
directly by the person or not, and that person is endowed the ability and/or
duty to act upon the said knowledge in a way to avoid or otherwise mitigate
the potential harm and fails to do said actions is liable for the inevitable
harm caused and/or may be found negligent where there is a duty of care; and

WHEREAS it is a fundamental principal of law that nobody is above the law
including but not limited to all government actors. The government immunity
clause only applies to government actors when they are performing their
actions of their office defined by their office in good faith and that the
UNITED STATES SUPREME COURT has made a ruling regarding public officials
being held liable for actions done or failure to perform required actions in
the case of MILLBROOK v. UNITED STATES, 477 Fed. Appx. 4, among others.

This International Commercial Claim / Lien within the Admiralty, Private
Agreement and Disclosures, and Notice of Liability with all attachments
comprises a binding contract between Respondents / Libellees and the
Claimant / Libellant for the purpose of establishing the honorable terms of
this Affidavit of Fee Schedule and Remedy and eliminating faulty assumptions.
It is referred to herein as the Contract although it is an inland clain
which, when perfected, will constitute a lien against the parties as
described hereunder. The terms “you”, “your”, and “yours” refer to each
Respondent named and yet to be named Respondents in this Contract
individually and collectively. This Fee Schedule and Remedy supersedes any
and all previous agreements, whether expressed or tacit, between the parties,

et al.

It_is agreed upon that these fees shall be added together with standard

ce sation claims, and in all cases, the standard co sation shall also
be due to me or any authorized trustee appointed for any and all breaches of
this Contract, violations of domestic and international human rights, the

U.Cc.C., and the Common Law.
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It is not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This d t and attach S are prasented with honorable and peaceful

intentions and are expressly for your benefit to provida you with dua process and a good faith opportunity
to atate a verified claim.

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SELF EXECUTING CONTRACT . . £ wae
This is a self-executing contract. The commission © any prohibited

action or knowingly, failing to act to prevent the commission of any
prohibited action, represents agreement to the terms and fees of this

document in its entirety. All persons principles, agents, association
members, and entities committing, conspiring to commit, or failing to
act to prevent the commission of one or more prohibited actions accept
and agree to pay the associated fee for the commission of such
prohibited actions. The fees, damages and values are set at the best
appropriate value in the sole determination of the author, presenter,
and server of this document. The author, presenter, and server of this
document reserves the right to waive or modify fees at any time
without notice. This document is not negotiable or rebuttable. The
only way to avoid immediate execution of this document is to not
violate permitted violations, or conspire to violate any part of it.

Joining the Contract
You (Respondent) and the Claimant / Libellant agree that the joinder fee for

any party not currently or previously named as a Respondent seeking the
privilege of joining this Contract is hereby established at $100,000 (one
hundred thousand) payable and convertible at the legal and lawful ratio
Prescribed by law of Federal Reserve Notes to silver dollars per each attempt

/ event of impairment.

As with any administrative process, you may rebut the statements and
claims in this Contract by executing a verified response, point-by-point,
with evidence that is certified to be true and in the form of a sworn
affidavit and assuming full liability to be received by Claimant(s) by
certified mail no later than 5:00 P.M. of the final date to respond given to
you. Respondent and the Claimant(s) / Libellant agree that a response which
is not verified or a response from a third party agent lacking first-hand
knowledge of the facts will constitute your failure to respond as defined
herein. If you fail to respond or to state a claim by the indicated Effective
Date, the Affidavit of Fee Schedule and Remedy (“Contract”) will bacome
binding and fully enforceable in the admiralty venue as a maritime lien
subject to levy, distraint, distress, certificate of exigency, impound,
execution, and all other lawful and/or commercial remedies. The parties
herein agree that failure to respond or insufficiency of response as defined
herein constitutes agreement with all terms, provisions, statements, facts,

claims, and fees within this Notice.
“Qui tacet consentire videtur.”

“Silence can only be equated with fraud where there is a legal or moral duty
to speak, or where an inquiry left unanswered would be intentionally
misleading.” U.S. v Tweel, 550 F.2d 297, 299, (1977), quoting U.S. v Prudden,
424 F.2d 1021, 1032 (1970)

“When circumstances impose duty to speak and one deliberately remains silent,
silence is equivalent to false representation...”

Page 16] 23

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It ia not wy intention to harass, to intimidata, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This d t and attach ts ar@ prasonted with honorable and peaceful
intentions and are expressly for your benefit to provide you with due process and a good faith opportunity

to state a verified clain.

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Fisher Controls International, Inc. v. Gibbons, 991 S.W. 2d 135 (1995)

“When a person sustains to another a position of trust and confidence, his
failure to disclose facts that he has a duty to disclose is as much a fraud
as an actual misrepresentation.."

Blanton v. Sherman Compress Co., 256 S.W. 2d 884 (1953)

Silence activates estoppel pursuant to Carmine v. Bowen, 64 A. 932.
U.C.C. § 2-201 -- Formal Requirements; Statutes of Frauds

(1)Except as otherwise provided in this section, a contract for the
sale of goods for the price of $500 or more is not enforceable by
way of action or defense unless there is some writing sufficient to
indicate that a contract for sale has been made between the parties
and signed by the party against whom enforcement is sought or by his
authorized agent or broker.

(2)Between merchants if within a reasonable time a writing in
confirmation of the contract and sufficient against the sender is
received and the party receiving it has reason to know its contents,
it satisfies the requirements of subsection (1) against such party
unless written notice of objection to its contents is given within
ten (10) days after it is received.

This Notice of Liability Regarding Trespass, Fee Schedule, and Remedy
constitutes the Claimant's / Libellant’s administrative remedy, and if you
fail to respond or fail to state a verified superior claim, you hereby agree
that the Claimant / Libellant has exhausted his administrative remedy and has
stated a claim upon which relief can be granted.

If you fail to state a verified claim by the Effective Date as described
below, you agree that you have failed to and are forever barred from doing so
by estoppel, exhausting your administrative remedy; therefore, Respondents
can never seek judicial intervention regarding this Contract now or at any
time in the future. Respondents forever waive all immunity now and in the
future. This Contract is giving due notice of suit in admiralty claims
pursuant to Public Law 94 § 583, 90 Statutes at Large § 2892, and 28 U.S.C.
1605 and 1607 in regards to loss of immunity.

The term “failure to respond” means your failure by the Effective Date to
respond to this Contract or insufficiency of response as defined herein. You
agree that your failure to respond conveys your agreement with all of the
terms and provisions of this Contract. By failing to respond, the Respondents
accept full liability for any and all harm or loss caused for which remedy
may be sought according to tort law, criminal law, strict liability,
negligence, and hazardous activities.

This Fee Schedule is effective from the date of being placed onto the Public
Record and will initiate upon any failure to comply with any and all
directives given to the Respondents by the Sovereign Beneficiary or by the
receipt of any further unsolicited letters or communications including
enails, calls, etc. from Respondents / agents / third parties, or in the

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cause anxiety, alarm, or distress. This doc t and attach to ara presented with honorable and peacoful
intentions and are expressly for your benefit to provide you with due process and a good faith opportunity
to atate a verified clain.

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event of any unlawful assault, death, killing, trespass, damages, perjury,
libel, injury, loss or harm, or any other unlawful activities. In the case of
your failure to pay any fees within thirty days of presentment of a True
Bill, you agree that a right of lien exists against you subject to a levy of
real property, distraint, distress, certificate of exigency, impound,
execution, and all other lawful and commercial remedies.

Notice to Agent is Notice to Principal .
Notice to Principal is Notice to Agent.

This Contract is legally and lawfully binding and non-negotiable. This
Contract is activated and subscribed to automatically by the Respondent(s)
named in due course by all names of Respondents, agents, employees,
individuals, third parties, and/or representatives thereof.

The Respondents are entitled to a Notice of Default. In consideration,
Respondent agrees to accept a Notice of Default as a Binding Administrative
Judgment (“Judgment”) certifying Respondent's agreement with all terms,
statements, facts, provisions, claims and fees within this Affidavit of Fee
Schedule and Remedy. Since Judgment is issued when a party waives the right
to respond, all parties to this Agreement agree to be bound in
perpetuity by any and all such Judgments which may be issued regarding
this Contract. Respondent cannot directly or indirectly seek
recoupment of losses incurred due to any terms of this Contract.

All Rights Reserved Without Recourse. The Beneficiary reserves the right to
alter this Fee Schedule at any time at the discretion of either party of the
Sovereign Beneficiary, Master Robert~Henry: Rivernider for the ROBERT HENRY
RIVERNIDER JRO Estate and any and all derivative names thereof.

Please be advised that these are my fees only and that further compensation
from your insurance bonding as well as liens on your personal assets will
also be required should you harass or intimidate Me or my family. Failure to
confirm ALL correspondence by wet ink signature and in writing only will be
construed as your non-response and dishonor. All correspondence must be
labeled with full names, titles, and the name and address of your office.

Failure to correctly identify and sign every document in wet ink that is sent
by you will be used as evidence that you are not who you say you are, that
you attempting to deceive the Sovereign Beneficiary, and that you are
attempting to impersonate a Public Official contrary to law.

This is a Notice of Liability Regarding Trespass, Fee Schedule, and Remedy
for Protection from Federal / State / County / City / Municipal / Corporate
employees, individuals, and agents. I, Robert-Henry: Rivernider, the holder
of the office of the People in the State known as Florida or in any other
State, am hereby, as a gesture of peace, giving proper notice to the STATE OF
Florida or to any state/corporation, to the UNITED STATES CORPORATION, and to
all municipal, county, and city corporations and other STATE Corporations of

the following:

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It is not sy intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This d t and attach ts are presanted with honorable and peaceful
antentions and are expressly for your benefit to provide you with due process and a good faith oppartunity
to atate a verified claim,

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rson desiring to avoid Soe and to live lawfully
I am providing you with this Affidavit of Fee

from Federal / State / County /c
cians D Ramody for Proyeos, agents, and individuals as a agen on you
ener Oe ke ld you decide to trespass upon Me or my Family. Failure
and as a a a all of your thousands of corporate regulations
ses ook ennai  ugiun absent a victim, damaged property, or fraud (the

corpus delecti).

As a peaceful, natural pe
with all of my freedoms,

you should know that the jury has sworn duty to
and the jury can provide just remedy for the
it is necessary to establish the

If you should face a jury,
judge the law and the facts,

People. In every criminal pros
(i.e., the bo

ecution,
dy or elements of the crime).

Nh aa eee ae ape
corpus delecti

- delecti consists of two elements- namely, (1) the injury
aeicuw . ~ -

>) a criminal agency causing them to exist

harm; and (¢) 1 age
165 Cal. 140, 146 [131 P.

P. 127)

Frey,

Please note that this Affidavit of Fee Schedule and Renady for Personal
Protection from Federal / State / County / City / Municipal / Corporate

employees, agents, and individuals is just and modest and well below the
precedent set by Trezevant v. City of Tampa, 746 F.2d 815 (11th Cir. 1984)
wherein the damages established were $25,000 for 23 minutes of unlawful
arrest. This particular remedy calculates to more than $1.8 million per day.
The above is my Fee Schedule for all trespasses to be considered by a lawful
jury of the People. Lawyer fees and other fees (including applicable late

fees) are not included in this Fee Schedule.

The Unites States Supreme Court has stated the following in

U.S. v. Cruikshank (92 U.S. 542 at 551):

“between the People of the United States, any resident within any state, or
any other national that there need be no conflict between any of them. The
powers which one possesses, the other does not. They are established for
different purposes and have separate jurisdictions. Together, they make one
whole and furnish the People of the United States with a complete
government, ample for protection of all of their rights at home and abroad.
It may sometimes happen that a ‘person’ is amenable to both jurisdictions
for the same act. It is the natural consequence of a citizen which owes
allegiance to two sovereignties and claims protection from both.”

The citizen cannot complain because he/she has voluntarily submitted
themselves to such a form of government. The opinion in this case is 100%
correct as long as one is referring to the People of the United States.

Neither I nor anyone from my family is of the
UNITED STATES. We are of God, the Almighty Creator.
Let it be clear that a People is not a person, and a person is not a

People. True sovereignty is within the People who have all private
rights, but citizens, on the other hand, are subjects (by their own

Page 19|23

It is not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This document and attachments are presented with honorable and peaceful
intentions and are expressly for your benefit to provide you with due process and a good faith opportunity

to state a verified claim.

”

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e state government and of local and federal

voluntary choice) of exchange fOr privileges and civil rights.

government corporations in
Let it be clear that I am not @ person / citizen ! employee / subject
of any corporation which cannot, under color oF aw, act as a lawful
government. Let it be clear that we have only one Sovereignty,
and that Sovereignty 15 God.

Guarantee and Waiver of Benefits
Guarantees for this Affidavit of Fee Schedule and Remedy are the 1611 King

James Bible, the Coronation of Elizabeth Alexandra Mary: Windsor, the
Constitution for the United States of America, the Bill of Rights,
Constitutional Oaths of Office, the Common Law, the Merchant Law, the
Uniform Commercial Code, and case law.

Guarantees and are included solely as a
d and unnamed Respondents. Bible
references are from the King James Bible and are used due to the oaths being
sworn upon it. The use of Bible references in this Affidavit of Fee Schedule
and Remedy are for jurisdictional purposes only, and no adherence or non-
adherence to any organized religious group including but not limited to
registered corporate organizations on the part of the Affiants may be
assuned.

I do not claim any benefit of said

Notice to Agent is Notice to Principal.
Notice to Principal is Notice to Agent.

It is written, “If they refuse to take the cup at thine hand to drink, then
shalt thou say unto them, thus saith the Lord of hosts,
ye shall certainly drink.” - Jeremiah 25:28

“Thy kingdom come, Thy will be done in earth, as it is in Heaven.”
-Matthew 6:10

NATURAL LAW

The Natural Law is that which God, the Sovereign over the world, has
prescribed to man not by any formal promulgation but by the internal
dictates of reason alone. It is discovered by a just consideration of the
agreeableness of human actions to the nature of Man, and it comprehends all
the duties which we owe either to the supreme being, to ourselves, or to our
neighbors as reverence to God, self-defense, temperance, honor to our
parents, benevolence to all strict adherence to our engagements, gratitude,
and the like. In the Constitution for the United States of America, we find
the 11% article, Amendment 9: “The enumeration in the Constitution, of
certain rights, shall not be construed to deny or disparage others retained
by the People.”

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It is not sy intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
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intentions and are expressly for your benefit te provide you with due process and a good faith opportunity
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EVENT OF DEFAULT

to dispute the claims and truths made

. le wishing
Affected parties and peop upon Me must respond within twenty-one

: aims
herein or to make their oe ee Notice of the action and request a Common
(21) days ee oy s. common Law Jury of twenty-five (25) indigenous free
nen fo hear theur case against Me. All responses must be signed and
witnessed no later than twenty-one (21) days from the date of original
service as attested to by way of certificate of service.
ure to register a dispute against this

Lawful Notica made herein will always result in an automatic default
judgment and permanent, irrevocable estoppel by acquiescence, barring the
bringing of charges under any statute/regulation / act /code or legal action
against Me, ny family, or another People. Failure to honor this lawful
Notice will make each of the People acting as federal / state / county /
city / municipal / corporate employees liable for the sum of $50,000 in
silver coin or its equivalent in Federal Reserve Notes plus my Fee Schedule,
and such sum will be required to be paid to Robert-Henry: Rivernider Upon
your receipt of the Invoice and by its assigned due date. I, the undersigned
affiant and attorney in fact for ROBERT HENRY RIVERNIDER JR®, authorize this
affidavit using my autograph on this instrument.

Failure to notify me and/or fail

It is against the law for a Judge to summarily remove, to dismiss,
to dissolve, or to diminish a Commercial Lien. Only the Lien
Claimant or a Jury can dissolve a commercial lien.

Trespass Upon Private Contract

Any collateral attack on this Contract is in bad faith and is a criminal
trespass payable as prescribed in the above-stated Affidavit of Fee
Schedule.

All payments are to be made in Lawful Money
pursuant to Title 12 USC § 411.

Further affiant sayeth not!

All Rights Reserved, None Waived
Without Prejudice

Respectfully submitted.

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It is not my intention to harags, to intimidate, to offend, to conapire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This d and attach ts are presented with honorable and peaceful
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to state a verified clain.

Filed 02/18/25 Page 37 of 38 PagelD 287 2

% Case 5:24-cr-00138-TPB-PRL Document 10

I, Robert-Henry: Rivernider, herein affirm and declare Bnet tacts
unlimited commercial liability that I am competent to * ot we
and of Lawful age to handle the matters set forth heres uo ne
aforementioned is true. correct, complete, not eee oe es and in
misleading and that all of the above 18 admissib'® 3° Ning. and
accordance with my best first-hand knowledge, un er ,

belief.
9th day of __ September __1n

Dated this _

the Year 2024.

Honorable Robert-Henry: Rivernider
Affiant, Executor, Sole shareholder,
Director, Attorney in Fact,

Sole Beneficiary,

Authorized Representative, sui juris

JURAT

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ACKNOWLEDGMENT OF NOTARY
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to state a verified clain.
Case 5:24-cr-00138-TPB-PRL Document10_ Filed 02/18/25 Page 38 of 38 PagelD 288

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2024, before

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apacity; 4” ted on behalf of the

instrumen ry? wt.
person who executed nstrum

Pate Fr , (seal)

NOTARY SIGNATURE

in

q/ 2097:

My Commission Expires: O7 {9

“Wee, PATRICIA M. ARP
ve} MY COMMISSION # HH 426974
EXPIRES: July 27, 2027

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It ia not my intention to harass, to intimidate, to offend, to conspire, to blackmail, to coerce, or to
cause anxiety, alarm, or distress. This document and attachments are presented with honorable and peaceful
intentions and are expressly for your benefit to provida you with due process and a good faith opportunity

to atate a verified clain.

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